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                               FIRM RESUME




          32 Ann Street
          Charleston, South Carolina 29403

          Telephone: (803) 222-2222
          Facsimile: (843) 494-5536
          Website: respectresults.com




 North Carolina                     South Carolina                         Georgia
                                 Charleston, Columbia,
Charlotte, Lumberton              Florence, Greenville,                Atlanta, Athens,
                                   Hampton, Ladson,                   Augusta, Columbus,
                                Lexington, Mt. Pleasant,                   Macon
                                Myrtle Beach, Rock Hill




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                                Who We Are

      Poulin | Willey | Anastopoulo (PWA) is a civil litigation firm focused

on Plaintiff’s rights. With offices in South Carolina, North Carolina and

Georgia, PWA lawyers have represented plaintiffs in class actions and mass

tort litigation throughout the country. PWA employs over 100 dedicated

legal professionals, including 27+ attorneys, and is among the remaining few

firms nationally that regularly tries cases to verdict. For this purpose, PWA

employs an internal focus group and mock trial program that allow it to test

and develop theories and case strategies from the outset.

      PWA has a roster of accomplished attorneys. The leadership team

representing PWA leads the nation’s trial bar in areas as diverse insurance

contract law and       professional negligence, having recovered over

$55,000,000.00 for clients in 2021 alone. The team also serves in various

national, state and local leadership positions in an effort to give back to their

communities. Recognized among America’s Top 100 High Stakes Litigators,

by Super Lawyers and receiving top verdicts year after year in their

respective jurisdictions, the attorneys of PWA are respected legal advocates

who are known for aggressive and compassionate representation and who

leave no stone unturned on behalf of their clients.

   PWA has the experience and resources to represent large putative classes.




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                                    Class Action


      PWA has served as lead counsel and in leadership steering committees

in many high-profile class actions. The Firm has served as joint lead counsel

on multiple state cases that were eventually consolidated to a state class

action regarding In Re OxyContin Products Liability Class Action and served

as sole lead counsel in South Carolina’s first opioid state action, Ken Love et

al., Civil Action No: 01-CP-38-01059 (SC).


      Currently, PWA and its attorneys serve as co-lead counsel in Day v.

GEICO Cas. Co., et al., 5:21-cv-02103 (N.D. Cal.), In re Columbia Univ.

Tuition Refund Litig., 1:20-cv-03208 (S.D.N.Y.), and Smith v. Univ. of

Pennsylvania, 2:20-cv02086 (E.D. Pa.). We also serve on leadership steering

committees in In re: Jan. 2021 Short Squeeze Tradition Litig., MDL 2989

(S.D. Fla.) and In re: Recalled Abbott Instant Formula Prods. Liab. Litig.,

MDL 3037 (N.D. Ill.).


      Further, PWA is has been appointed as interim lead or co-lead counsel

in the following:


         • Bergeron v.       Rochester    Inst.    of   Tech.,     6:20-cv-06283
           (W.D.N.Y.)

         • Faber v. Cornell Univ., 3:20-cv-00467 (N.D.N.Y.)

         • Ford v. Rensselaer Polytechnic Inst., 1:20-cv-00470 (N.D.N.Y)

         • In re Univ. of Miami COVID-19 Tuition and Fee Refund Litig.,
           20-cv60851 (S.D. Fla.)


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           • Levin v. Bd. Of Regents of Univ. of Colorado, 20CV31409 (St.
             Ct. Denver Co.)

           • Montesano v. Catholic Univ. of America, 1:20-cv-cv-01496
             (D.D.C.)

           • Qureshi v. American Univ., 1:20-cv-01141 (D.D.C.)

           • Ryan v. Temple Univ., 5:20-cv-02164 (E.D. Pa.)

      On May 7, 2024, PWA was granted class certification in Qureshi v.

American Univ., 1:20-cv-01141 (D.D.C.) as well as being appointed class

counsel.




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                                   Mass Tort

       PWA also has extensive experience in mass tort litigation, including

representing over 500 potential claimants in the In re Vioxx Products

Liability Litigation, MDL No. 1657 (E.D. La.), and over 1,000 claimants in

the In re Baycol Prods. Liab. Litig., MDL No. 1431 (D. Minn.), and state

actions consolidated under the Third Circuit Court of the Third Judicial

Circuit master file: 2002-cp-43-1041, where Akim Anastopoulo served as

lead counsel on two state bellwether cases.

       Additionally, Mr. Anastopoulo served on the Daubert Submissions

committee for Thimerosal Litigation MDL and represented hundreds of

individual clients in In Re Diet Drugs (Phentermine, Fenfluramine,

Dexfenfluramine) Prods. Liab. Litig., 2000 U.S. Dist. LEXIS 12275, *47-48

(D. Pa. 2000).

       PWA and its attorneys currently represent clients in the following MDLs:

   -   In re: Incretin Mimetics Prods. Liab. Litig., MDL No. 2452 (S.D. Cal.)
   -   Xarelto Prods. Liab. Litig., MDL No. 2592 (E.D. La.)
   -   In re: Johnson & Johnson Talcum Powder Prods. Marketing, Sales
       Practices and Prods. Liab. Litig., MDL No. 2738 (D.N.J.)
   -   In re: Roundup Prods. Liab. Litig., MDL No. 2741 (N.D. Cal.)
   -   3M Prods. Liab. Litig., MDL No. 2885 (N.D. Fla.)
   -   In re: Zantac (Ranitidine) Prods. Liab. Litig., MDL 2924 (S.D. Fla.)
   -   In re: Paraquat Products Liab. Litig., MDL 3004 (S.D. Ill)
   -   In re: Philips Recalled CPAP, Bi-Level Pap, and Mechanical
       Ventilator Prods. Litig., MDL 3014 (W.D. Pa.)
   -   In re: Johnson & Johnson Aerosol Sunscreen Marketing, Sales
       Practices and Prods. Liab. Litig., MDL 3015 (S.D. Fla.)
   -   In re: Proctor & Gamble Aerosol Prods. Marketing and Sales
       Practices Litig., MDL No. 3025 (S.D. Ohio)
   -   In re: Acetaminophen – ASD/ADHD Prods. Liab. Litig. (S.D.N.Y.)



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                                            Eric M. Poulin

                                            Email: Eric@poulinwilley.com

                                            Education
                                            Presbyterian College, B.S.
                                            Charleston School of Law, J.D.,
                                            magna cum laude




Eric Poulin a Member and Trial Lawyer at PWA.

       Eric has tried multiple cases to verdict, resulting in over
$60,000,0000 in single event personal injury jury verdicts. Licensed in
California, Georgia, North Carolina, and South Carolina, together with many
Federal District Courts, Eric has litigated hundreds or thousands of cases
through settlement or verdict and has recovered over $100,000,000 for his
clients over the course of his career. Eric has also handled appellate cases in
the South Carolina Court of Appeals, the South Carolina Supreme Court, and
the 4th Circuit Court of Appeals.
       In 2016, Eric was tapped by the South Carolina Supreme Court to
record a video CLE on insurance law as part of the State Bar's "Essentials"
series that is required viewing for all new admittees to the Bar.
       Eric is a member of the South Carolina Association of Justice and the
American Association of Justice. Eric has been featured in South Carolina
Lawyers Weekly's yearly top 10 verdicts and settlements profile for 3 of the
last 4 years. In 2014, Eric was featured in the U.S. Verdicts' "Top 100"
national verdicts report. Eric is a Super Lawyers’ Rising Star, a National Trial
Lawyers' Top 40 Under 40 recipient, and two-time National Academy of
Professional Injury Attorneys' Top 10 Under 40 recipient.
       Eric is also a leading innovator and strong advocate for utilizing
technology to further the practice of law and better represent his clients. Eric
has written and lectured on the topic of utilizing technology at trial to present
stronger cases to juries and has led his Law Firm’s push to “go digital.” This
has resulted in increased efficiency across the board, lower costs, and better
results for clients.
       Eric is most proud of the results he has garnered for his clients,
including several significant seven-figure jury verdicts, more than
$60,000,000.00 in single event personal injury jury verdicts, and more than
$100,000,000.00 recovered for clients.




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             Bar Admissions
  ●    State Bar of California
  ●    State Bar of Georgia
  ●    State Bar of North Carolina
  ●    State Bar of South Carolina

  ●    District of South Carolina
  ●    Eastern District of North Carolina
  ●    Middle District of North Carolina
  ●    Western District of North Carolina
  ●    Central District of California
  ●    Northern District of California
  ●    Northern District of New York
  ●    District of Colorado
  ●    Northern District of Illinois General Bar
  ●    Western District of Texas
       (List Not Inclusive of Pro Hac Vice Admissions)

  ●    2nd Circuit Court of Appeals
  ●    4th Circuit Court of Appeals
  ●    8th Circuit Court of Appeals
  ●    11th Circuit Court of Appeals

             Practice Areas
  ●    Complex Litigation
  ●    Appellate Litigation
  ●    Class Action Litigation
  ●    Commercial Litigation
  ●    Products Liability Litigation
  ●    Mass Tort Litigation
  ●    Bad Faith Insurance Litigation
  ●    Wrongful Death Litigation

             Selected Professional Awards & Recognition
2014         TOP 100 U.S. VERDICTS
2016-18      SC LAWYERS WEEKLY - TOP 10 JURY
             VERDICTS / SETTLEMENTS
2017         SC LAWYERS WEEKLY - MOST IMPORTANT COURT
             OPINIONS


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2016-17      NAT’L ACADEMY OF PERSONAL INJURY ATTYS TOP 10
             UNDER 40
2019         NAT’L TRIAL LAWYERS TOP 40 UNDER 40
2018-20      SUPER LAWYERS RISING STAR

            Presentations and Professional Education Programs

December 2017 Advanced Trial Tactics
December 2016 Advanced Trial Tactics




                                           Roy T. Willey, IV

                                           Email: Roy@poulinwilley.com

                                           Education
                                           Harvard College, B.A.
                                           Charleston School of Law, J.D., cum
                                           laude




Roy Willey is a Member and Trial Lawyer at PWA.

       Roy has been named among America’s Top 100 High Stakes
Litigators, a Super Lawyers Rising Star, and in the National Top 10 Under
40, and he is well known for his community and professional involvement.
He has achieved record results for his clients and is fond of
encouraging all at the firm to treat each client like family.
       Nationally recognized as a leader in complex, contract based,
and high stakes litigation, Roy is the Chairman of the Insurance Law
Section for the American Association of Justice (AAJ), a national co-chair of
AAJ’s Business Interruption Litigation Taskforce, and the state Chairman of
South Carolina Equality (which is responsible for winning legalization of
same-sex marriage in South Carolina). On the local level he serves on the
executive board of his local Charleston County Bar Association and a host of
other non-profit boards and committees.
       In recoveries for clients he has had a jury verdict named among the
largest verdicts in the nation, is a multi-year winner of top verdicts in South
Carolina where he regularly tries complex cases, and he is regularly called on
by political leadership for advice on complex issues. He is a known problem



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solver, with a servant’s heart.

          Bar Admissions
  ● State Bar of South Carolina
  ● State Bar of Kentucky
  ● State Bar of New Jersey

  ●   District of South Carolina
  ●   District of Colorado
  ●   Middle District of Tennessee
  ●   Northern District of Illinois General Bar
  ●   Northern District of New York
  ●   Western District of Texas
      (List Not Inclusive of Pro Hac Vice Admissions)

  ●   2nd Circuit Court of Appeals
  ●   4th Circuit Court of Appeals
  ●   9th Circuit Court of Appeals
  ●   11th Circuit Court of Appeals

            Practice Areas
  ●   Complex Litigation
  ●   Appellate Litigation
  ●   Class Action Litigation
  ●   Commercial Litigation
  ●   Products Liability Litigation
  ●   Mass Tort Litigation
  ●   Bad Faith Insurance Litigation
  ●   Wrongful Death Litigation

         Professional and Philanthropic Involvement
  ● AMERICAN ASSOC. FOR JUSTICE (AAJ) - INSURANCE SECTION
         Chairman, National Executive Board
  ● AAJ BUSINESS INTERRUPTION LITIGATION TASKFORCE
         National Co-Chair
  ● SOUTH CAROLINA EQUALITY
         Chairman of the Board
  ● CHARLESTON COUNTY BAR ASSOCIATION
        Executive Committee Member



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            Selected Professional Awards & Recognition
2014        TOP 100 U.S. VERDICTS
2016-18     SC LAWYERS WEEKLY - TOP 10 JURY VERDICTS /
            SETTLEMENTS
2017        SC LAWYERS WEEKLY - MOST IMPORTANT COURT
            OPINIONS
2016-17     NAT’L ACADEMY OF PERSONAL INJURY ATTYS TOP 10
            UNDER 40
2018-19     AMERICA’S TOP 100 HIGH STAKES LITIGATORS
2018-20     SUPER LAWYERS RISING STAR

Professional Education Programs Presented
  ● South Carolina Association of Justice Annual Conference
          Topic: FLSA and Collective Actions – Focusing on Certification
  ● South Carolina Small Firm Business Luncheon
          Topic: FLSA and Collective Actions – Focusing on Your
          Practice (March 2015)
  ● Wrongful Death Litigation Start to Finish CLE
          Topic: Upholding Ethical Standards in Wrongful Death Cases
          (February 2017)
  ● Ultimate Guide to Evidence CLE
          Topic: Using Motions to Exclude Evidence & Legal Ethics of
          Evid. (August 2017)
  ● Advanced Trial Tactics CLE - Topic: Ethics (December 2017)
  ● Legal Ethics: Top Challenges CLE
          Topic: Online Ethics & Duties to Prospective Clients (February 2018)
  ● Top Trial Strategies the Pros Use to Win Their Cases CLE
          Topic: Effective Exhibits and Courtroom Technology
          (November 2018)
  ● Webinar: Navigating Pre-Litigation Business Interruption
     Bad Faith Claims CLE Moderator (May 2020)

             Appointments
In re Univ. of Miami COVID-19 Tuition and Fee Refund Litig., 20-cv-60851 (S.D. Fla.)
In re: Jan. 2021 Short Squeeze Tradition Litig., MDL 2989 (S.D. Fla.)
In re: Recalled Abbott Instant Formula Prods. Liab. Litig., MDL 3037 (N.D. Ill.).




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                                        Akim A. Anastopoulo

                                        Email: Akim@akimlawfirm.com

                                        Education
                                        University of Louisville
                                        University of South Carolina, J.D.




Akim Anastopoulo is a Member and Trial Lawyer at PWA.

      Akim has been practicing law for more than 30 years, representing
tens of thousands of consumers and individuals who have been injured due
to corporate malfeasance and negligence. He is the founder and chair of
Poulin | Willey | Anastopoulo, LLC, formerly known as Anastopoulo Law
Firm, a national law firm that has represented clients across the United
States during that time.

            Bar Admissions
   ● State Bar of South Carolina
   ● District of South Carolina
     (List Not Inclusive of Pro Hac Vice Admissions)

             Practice Areas
   ●   Complex Litigation
   ●   Class Action Litigation
   ●   Commercial Litigation
   ●   Products Liability Litigation
   ●   Mass Tort Litigation
   ●   Bad Faith Insurance Litigation
   ●   Wrongful Death Litigation

            Appointments
In Re OxyContin Products Liability Class Action
Ken Love et al., Civil Action No: 01-CP-38-01059 (SC)




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                                  Constance A. Anastopoulo

                                  Email: Constance@akimlawfirm.com

                                  Education
                                  University of Virginia, B.A.
                                  University of North Carolina School of Law, J.D.




       Constance Anastopoulo was the 2018 Democratic Nominee for
SC Attorney General and won more votes than any other woman
in SC history, including former Gov. Nikki Haley. She currently
serves as an associate professor at the Charleston School of Law, where she
lectures on torts, insurance law, and professional responsibility. She has
been named “Professor of the Year” and an honoree of the Black Law
Students’ Association for “Commitment to Bringing About Meaningful Legal
and Political Change.” She is currently of counsel at Anastopoulo Law Firm,
where she is a trusted mentor and advisor to the firm’s lawyers, including
the firm’s College and University Litigation Team.

            Bar Admissions
              ● State Bar of South Carolina

               ● District of South Carolina
                  (List Not Inclusive of Pro Hac Vice Admissions)

               ● United States Federal Court of Claims
               ● 4th Circuit Court of Appeals

            Practice Areas
              ● Complex Litigation
              ● Appellate Litigation
              ● Class Action Litigation
              ● Products Liability Litigation
              ● Mass Tort Litigation
              ● Catastrophic Injury Litigation
              ● Bad Faith Insurance Litigation Litigation Leadership
                 In Re: Oxycontin, Plaintiffs’ Class Counsel Committee (2005-2008)




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     Gaskins v. Southern Farm Bureau, 354 S.C. 416 (2003)
                       Top ten most important decisions by SC Lawyers
                       Weekly for 2003

          Professional and Philanthropic Involvement
            ● JAMES L. PETIGRU AMERICAN INN OF COURT
                    Member
            ● INSTITUTE OF INTERNATIONAL AND
               COMPARATIVE LAW at STETSON UNIV.
                    Visiting Professor
            ● THE RILEY INSTITUTE AT FURMAN UNIVERSITY
                    Diversity Fellow
            ● LEAGUE OF WOMEN VOTERS CHARLESTON AREA
                    Vice President, Board
            ● COLLEGE OF CHARLESTON WOMEN AND GENDER
               STUDIES
                    Chair, Board of Advisors

          Professional Education Publications and Programs
            ● A New Twist on Remedies: Judicial Assignment of Bad
               Faith Claims
                     Indiana L. Rev., Vol. 50, No. 3 (2017)
            ● Taking No Prisoners: Captive Insurance as an
               Alternative to Traditional or Commercial Insurance - 8
               Ohio St. Entrepren. Bus. L.J. 209 (2013)
            ● Race and Gender on the Bench: How Best to Achieve
               Diversity in Judicial Selection
                     8 Nw. J. L. & Soc. Pol'y. 174 (2013).

     ● Where’s the Outrage: “Outrageous” Conduct in Analyzing the
       Tort of Intentional Infliction of Emotional Distress in the Wake
       of Snyder v. Phelps
                  19 Tex. Wesleyan L. Rev.667 (2013)

             ● Bad Faith: Building a House of Straw, Sticks, or Bricks
                - Memphis L. Rev., Vol. 43, Bk. 3 (2012)

             ● Teaching Privacy in the Age of Octomom –Enhancing
                Case/Socratic Method with Structured Class
                Discussion, 44
                Val. U. L. Rev. 391 (2010)Bad Faith in South Carolina


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                Insurance Contracts: From Tyger River Pine Co. v.
                Maryland Cas. Co. to Mitchell v. Fortis Ins. Co. - 22 S.C.
                Law. 18 (July 2010).

             ● Bad Faith in North Carolina Insurance Contracts: A
                Growing Part of Insurance Practice - Published in June
                2010 Issue of North Carolina Bar Journal.

             ● How Judicial Selection Impacts the
                  Criminal Justice System Presenter February 25,
                2013

             ● The State of the Judiciary: From Research to Reality
                Organizer and Moderator of Panel presented at
                conclusion of the League of Women Voters of South
                Carolina’s two- year study of the judicial selection process
                in South Carolina. University of South Carolina School of
                Law, Columbia, SC. August 10, 2012

             ● Insurance   Law – Advanced Uninsured Motorist
                /Underinsured Motorist Law Seminar
                      Ethics Presenter - Presenting on “Ethical Traps
                      to Avoid”

             ● Insurance Law –“Ethical Considerations” Presenter -
               December 6, 2011
             ● Judicial Selection in South Carolina Coastal Carolina
               University Moderator of panel consisting of Justice
               Kaye Hearn, S.C. Supreme Court; Counselor Leslie
               Caggiolla, counsel to Commission on Judicial Conduct;
               Rep. George Hearn, S.C. House of Representatives;
               Solicitor Ernest Finney, III; and Judge Jennifer Wilson.

             ● The Impact of the Judicial Process on Citizens; Why
                Does Judicial Diversity and Independence Matter
                Francis Marion University Panelist/Presenter

             ● Ensuring Judicial Independence and Diversity in South
                Carolina Organizer and moderator of Forum. October
                2010


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                ● State   Constitutional Reform in the New South
                   Panelist/moderator discussing judicial selection process
                   in South Carolina with panelists including Chief Justice
                   Jean H. Toal, Judge Alex Sanders, Rep James Smith, S.C.
                   House of Representatives.

                              ● Judicial Selection in South Carolina –
                                 Ensuring   Quality,        Diversity,     and
                                 Independence




                                            Paul J. Doolittle

                                            Email:
                                            Paul.doolittle@poulinwilley.com

                                            Education
                                            University of South Carolina, B.A.
                                            University of South Carolina School of
                                            Law, J.D.



Paul Doolittle is the Director of the Class Action and Mass Tort Division.

        Mr. Doolittle is an experienced trial attorney who has been recognized
for his courtroom skills and verdicts. He feels helping ordinary people have
their day in court is a great honor. He is proud to help level the playing field
for individuals and is relentless is seeking justice for his clients.
        Mr. Doolittle attended the University of South Carolina School of Law
for his legal education where he graduated in the top 20% of his class. After
law school, Mr. Doolittle worked at Foster & Foster handling a vast array of
cases from auto accidents to complex automobile dealer buy/sell
transactions. After gaining experience in and out of the court room, Mr.
Doolittle joined Motley Rice where he eventually became partner. Mr.
Doolittle co-chaired the firm’s Catastrophic Injury Group which was started
to handle the firm’s most complex and high damage cases at the firm. He
stills hold the highest verdict ever received in a Minnesota asbestos trial.

             Bar Admissions


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   ● State of South Carolina
   ● District of South Carolina

             Practice Areas
   ●   Complex Litigation
   ●   Class Action Litigation
   ●   Products Liability Litigation
   ●   Mass Tort Litigation

           Professional Education Programs Presented
   ● Charleston County Bar Association What Works For
           Me CLE Topic: Class Actions (February 2023)

            Appointments
Smith v. Univ. of Pennsylvania, 2:20-cv-02086 (E.D. Pa.) – co-lead counsel




                                           Stuart J. Guber

                                           Email:
                                           stuart.guber@poulinwilley.com

                                           Education
                                           Temple University, B.S.
                                           Temple University School of Law, J.D.



       Stuart J. Guber is the Director of Shareholder Services and Securities
Litigation at PWA.

        Mr. Guber is a seasoned litigator and trial counsel with over three
decades of experience. He has expertise in class actions including complex
litigation with emphasis in securities litigation and disclosure requirements,
business law, corporate governance and compliance, consumer protection,
investor protection, data security, and ERISA litigation. Mr. Guber has an
extensive background in counseling clients, including institutional investors.
Representative clients include the Public School Employees Retirement
System of Pennsylvania, Retirement Systems of Alabama, numerous county
and municipal pension plans, and Taft-Hartley Union Pension Funds and
Health & Welfare Plan in class action and opt out litigation.
        Mr. Guber has recovered well over $1 billion for defrauded plaintiffs.


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He has a jury verdict for $81.3 million in a securities class action against
Deloitte & Touche for a fraudulent audit of Koger Properties, Inc. (“KPI”)
and aided the U.S. Treasury Department in a tax evasion case against the
founder of KPI. Mr. Guber was instrumental in reaching a $325 million
settlement in class action litigation against Rite-Aid Corporation for
violation of the federal securities laws, In re Rite-Aid Corporation Securities
Litigation, 2001 WL 35963382 (E.D. PA. Aug. 16, 2001). He was
instrumental in developing a Food Safety Council for Chipotle Mexican Grill
Inc. in shareholder litigation concerning incidents of salmonella poisoning.
His settlement of shareholder litigation in a data breach against Home
Depot, Inc. has been called by Bloomberg Law “a good corporate security
governance improvement blueprint for other companies” and “a roadmap
for other companies … and … look to the settlement for ‘additional guidance’
on how to conduct post-breach remedial actions.” Mr. Guber’s firm was
appointed Lead Counsel in all of these cases and Mr. Guber was lead counsel
for the firm.
       Mr. Guber has had settlement classes certified in over 35 class actions
and has had several classes certified where class certification was contested,
for example in In re Evergreen Ultra Short Opportunities Fund Sec. Litig.,
(settled for $25 million post-certification) (D. Mass.), In re Providian
Financial Corp. Sec. Litig., C 01-3952 (N.D. Cal.) (settled for $65 million
post- certification where class certification involved an issue of first
impression). Mr. Guber has been appointed lead counsel in dozens of cases.
       Mr. Guber had conducted oral argument in six of the thirteen United
States Court of Appeals and numerous United States Court District Courts.
He has been lead trial counsel and successfully tried cases representing both
plaintiffs and defendants. He has received an AV rating by Martindale
Hubbell.

           Bar Admissions
   ● State of Pennsylvania
   ● State of Georgia

   ● District Court Eastern District of Pennsylvania
   ● District Court Northern District of Pennsylvania

   ●   First Circuit Court of Appeals
   ●   Third Circuit Court of Appeals
   ●   Sixth Circuit Court of Appeals
   ●   Eighth Circuit Court of Appeals
   ●   Nineth Circuit Court of Appeals
   ●   Tenth Circuit Court of Appeals
   ●   Eleventh Circuit Court of Appeals


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             Practice Areas
   ●   Complex Litigation
   ●   Class Action Litigation (Consumer/Securities/Mergers & Acquisitions).
   ●   Shareholder Derivative Litigation
   ●   ERISA Litigation
   ●   FINRA Arbitrations
   ●   Taft-Hartley Unions: drafting Pension Fund & Health &Welfare Plan ERISA
       documents
   ●   Trusts and Estates Litigation




                                         Tony Cifuentes

                                         Email:
                                         tony.cifuentes@poulinwilley.co
                                         m

                                         Education
                                         University of South Florida, B.A.
                                         University of Mississippi, J.D.

Tony is a Law Clerk in the Class Action and Mass Tort Division.



                                          Zachary R. Bieber

                                          Email:
                                          Zachary.bieber@poulinwilley.com

                                          Education
                                          The Ohio State University, B.A.
                                          Creighton University School of Law,
                                          J.D.

Zach is an Associate Attorney in the Class Action and Mass Tort Division.

           Bar Admissions
   ● State of South Carolina


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             Practice Areas
   ●   Complex Litigation
   ●   Class Action Litigation
   ●   Products Liability Litigation
   ●   Mass Tort Litigation


                                         Deborah Olagunju

                                          Email:
                                          deborah.olagunjua@poulinwilley.com

                                          Education
                                          The State University at The College at
                                          Brockport, B.S.
                                          North Carolina Central University
                                          School of Law, J.D. Cum Laude

Deborah is an Associate Attorney in the Class Action and Mass Tort Division.

           Bar Admissions
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             Practice Areas
   ●   Complex Litigation
   ●   Class Action Litigation
   ●   Products Liability Litigation
   ●   Mass Tort Litigation




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           Bar Admissions
   ● State of Florida
   ● State of Maryland
   ● District of Columbia

             Practice Areas
   ●   Complex Litigation
   ●   Class Action Litigation
   ●   Products Liability Litigation
   ●   Mass Tort Litigation




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                 Bar Admissions
         ● State of Minnesota


                   Practice Areas
         ●   Complex Litigation
         ●   Class Action Litigation
         ●   Products Liability Litigation
         ●   Mass Tort Litigation




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                                                            University of Puerto Rico, Rio
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                                                            Law School of Ponce, PR , Juris
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               Bar Admissions
        ● Puerto Rico


                  Practice Areas
        ●   Complex Litigation
        ●   Class Action Litigation
        ●   Products Liability Litigation
        ●   Mass Tort Litigation




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                                          & Mass Tort division. Ryan is a Certified Information
                                          Privacy Professional for the United States (CIPP/US)
                                          and holds a cybersecurity certification awarded by the
                                          Computing      Technology     Industry     Association
                                          (CompTIA Security+). Prior to joining the firm, Ryan’s
                                          practice focused on helping clients minimize their
potential exposure to liability associated with the use, collection, and disclosure of personal
information. Ryan provided services to identify, address, and respond to statutory, regulatory,
and contractual data protection obligations, including data protection impact assessments,
privacy risk assessments, and data processing agreements.

                 Bar Admissions
         ● State of Alabama


                   Practice Areas
         ●   Data Breach Litigation
         ●   Class Action Litigation
         ●   Products Liability Litigation
         ●   Mass Tort Litigation




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                                     Education

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Bar Admissions
  ● Alabama
  ● Mississippi

Practice Areas
  ● Class Action Litigation
  ● Products Liability Litigation
  ● Mass Tort Litigation




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